Case 1:23-cv-09110-DLC Document 67 Filed 12/13/23 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ee ee ee ee ee x
LOUIS FARRAKHAN et al.,

Plaintiffs, : 23ev9110 (DLC)

-y- .
ORDER

ANTI-DEFAMATION LEAGUE, et al.,

Defendants.
eet een nen ee eee a x

DENISE COTE, District Judge:

On December 12, 2023, defendants filed motions to dismiss
the amended complaint pursuant to Rule 12(b)(1) and (6), Fed. R.
Civ. P. Under Rule 15(a)(1)(B), Fed. R. Civ. P., a plaintiff
has 21 days after the service of a motion under Rule 12(b) to
amend the complaint once as a matter of course. It is hereby

ORDERED that plaintiff shall file any amended complaint by
January 5, 2024. It is unlikely that plaintiff will have a
further opportunity to amend.

IT IS FURTHER ORDERED that if no amended complaint is
filed, plaintiff shall file any opposition to the motion by
January 5, 2024. Defendant’s reply, if any, shall be filed by
January 19, 2024. At the time any reply is filed, the moving
party shall supply Chambers with two (2) courtesy copies of all
motion papers by mailing or delivering them to the United States

Courthouse, 500 Pearl Street, New York, New York,

Case 1:23-cv-09110-DLC Document 67 Filed 12/13/23 Page 2 of 2

TT IS FURTHER ORDERED that the Initial Pretrial Conference
scheduled for January 4, 2024 is adjourned sine die.

Dated: New York, New York
December 12, 2023

bo
(ete i i
DENISE COTE
United States District Judge

